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                                       No. 24-2071


                    IN THE UNITED STATES COURT OF APPEALS
                            FOR THE FOURTH CIRCUIT


               VIRGINIA COALITION FOR IMMIGRANT RIGHTS, et al.,

                                                 Plaintiffs-Appellees

                                            v.

                        SUSAN BEALS, in her official capacity as
                        Virginia Commissioner of Elections, et al.,

                                                 Defendants-Appellants


             ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA


              PLAINTIFF-APPELLEE UNITED STATES’ OPPOSITION TO
                EMERGENCY MOTION FOR STAY PENDING APPEAL


                                                 KRISTEN CLARKE
                                                  Assistant Attorney General

                                                 SYDNEY A.R. FOSTER
                                                 ANNA M. BALDWIN
                                                  Attorneys
                                                  Department of Justice
                                                  Civil Rights Division
                                                  Appellate Section
                                                  Ben Franklin Station
                                                  P.O. Box 14403
                                                  Washington, D.C. 20044-4403
                                                  (202) 305-4278
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                                    INTRODUCTION

              Defendants-appellants—the Commonwealth of Virginia, the

        Virginia State Board of Elections, and Susan Beals in her official

        capacity as the Commissioner of Elections (Defendants)—seek an

        emergency stay of the preliminary injunction issued by the district

        court to remedy defendants’ violations of the Quiet Period Provision,

        Section 8(c)(2) of the National Voter Registration Act of 1993 (NVRA),

        52 U.S.C. § 20507(c)(2). As the district court found, those serious

        violations have resulted in the removal of citizens eligible to vote from

        Virginia’s voting rolls. Because Defendants do not come close to

        meeting the demanding standard for that extraordinary relief, their

        request for a stay should be denied.

              The Quiet Period Provision requires states to complete any

        “systematic[]” “programs” intended to “remove the names of ineligible

        voters from the official list of eligible voters” prior to 90 days before any

        federal election. 52 U.S.C. 20507(c)(2)(A). That general mandate is

        subject to certain enumerated exceptions, such as when removal efforts

        are based on the death of a registered voter. 52 U.S.C. 20507(c)(2)(B)

        (cross-referencing 52 U.S.C. 20507(a)(3)(A)-(B) and (4)(A)). The statute
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        does not, however, contain an exception allowing systematic efforts to

        remove purported noncitizens within 90 days of an election. As the

        Eleventh Circuit has held, it follows that there is no such exception.

        See Arcia v. Fla. Sec’y of State, 772 F.3d 1335, 1346 (11th Cir. 2014).

              Significantly, Virginia and other States remain free to remove

        noncitizens from their voting rolls at any time based on individualized

        investigations. And they remain free to engage in systematic efforts to

        remove noncitizens from their voting rolls except during the 90-day

        period before federal elections. But, as the Eleventh Circuit explained in

        Arcia, the Quiet Period Provision reflects Congress’s judgment that the

        risk of error inherent in “systematic” removals of individuals from the

        voting rolls within 90 days of an election—when there may be

        insufficient time for removed individuals to show they are citizens and

        then exercise their fundamental right to vote—is too great to allow

        systematic removals during that period. 772 F.3d at 1346.

              Despite this bright-line rule, on August 7, 2024—90 days before

        the November 5, 2024, federal General Election—the Virginia Governor

        issued Executive Order 35 formalizing a program aimed at removing

        noncitizens from the Commonwealth’s voting rolls and requiring that


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        the program be carried out each day (the Program). This Program

        reliedon unverified data from the Virginia Department of Motor

        Vehicles to flag individuals for removal. That limited data was bound

        to—and did in fact—lead to the erroneous removal of many citizens

        from the voter rolls. The district court therefore correctly found that

        Virginia’s Program violates the Quiet Period Provision, and it acted well

        within its discretion in entering narrowly-tailored relief.

              Not only does Virginia have little likelihood of success on the

        merits of its challenge, but the State will not suffer irreparable harm in

        the absence of a stay, given that the preliminary injunction merely

        directs Virginia to take limited steps to reverse its removal of affected

        voters. By contrast, a stay would seriously harm the voters unlawfully

        removed from Virginia’s voting rolls, the United States’ strong interest

        in enforcing its laws, and the public’s interest in ensuring that all

        eligible voters may exercise their right to vote. The United States

        respectfully requests that the motion for a stay be denied.



                                      STATEMENT

              A.   Statutory Background


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              Enacted in 1993, the NVRA establishes uniform procedures and

        practices for voter registration—and the maintenance of voter-

        registration lists—for federal elections. 52 U.S.C. 20501 et seq. As the

        Act itself specifies, the NVRA’s purpose is to “establish procedures that

        will increase the number of eligible citizens who register to vote”;

        “enhance[] the participation of eligible citizens as voters”; “ensure that

        accurate and current voter registration rolls are maintained”; and

        “protect the integrity of the electoral process.” 52 U.S.C. 20501(b).

        Congress deemed it critical to enact the statute to protect the

        “fundamental right” of citizens to vote, emphasizing that

        “discriminatory and unfair registration laws” can have a “direct and

        damaging effect on voter participation” in federal elections and

        “disproportionately harm voter participation by various groups,

        including racial minorities.” 52 U.S.C. 20501(a); see also S. Rep. No.

        103-6, at 2-4 (1993) (Senate Report); H.R. Rep. No. 103-9, at 2-5 (1993)

        (House Report).

              Section 8 of the NVRA governs the administration of voter-

        registration lists for federal elections. See 52 U.S.C 20507. Section

        8(c)(2), the NVRA’s Quiet Period Provision, place limits on the removal


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        of voters from the voter rolls during the 90 days preceding a federal

        election. It directs that a “State shall complete, not later than 90 days

        prior to the date of a primary or general election for Federal office, any

        program the purpose of which is to systematically remove the names of

        ineligible voters from the official lists of eligible voters.” 52 U.S.C.

        20507(c)(2)(A). This provision was enacted to ensure that “State

        outreach activity, such as the mailing of list verification notices or

        conducting a canvas, [is] concluded not later than 90 days before an

        election.” Senate Report at 18-19; see also House Report at 16 (“This

        requirement applies to the State outreach activity such as a mailing or

        a door-to-door canvas and requires that such activity be completed by

        the 90-day deadline.”).

              This general prohibition on systematic removal efforts within 90

        days of an election is subject to several enumerated exceptions. As

        relevant here, it “shall not be construed to preclude” the “removal of

        names from official lists of voters” when done “at the request of the

        regist[ered voter],” “by reason of criminal conviction or mental

        incapacity,” or “by reason of the death of the registrant.”

        52 U.S.C. 20507(c)(2)(B) (incorporating 52 U.S.C. 20507(a)(3)(A)-(B)


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        and (4)(A)); see also Senate Report at 19; House Report at 16. The Quiet

        Period Provision contains no other express exceptions, including an

        exception for removing noncitizens from the voting rolls.

              B.   Factual Background

              All persons who register to vote in Virginia must affirm that they

        are a United States citizen when they register. Va. Code 24.2-418. It is

        a crime for a noncitizen to vote. See Va. Code 24.2-1004(B)(iii); 18

        U.S.C. 611.

              On August 7, 2024, 90 days before the November 5, 2024, federal

        election day, the Virginia Governor issued Executive Order 35. See Doc.

        9-3, no. 1-24-cv-01807 (Exhibit 2, Commonwealth of Va., Office of the

        Governor, Executive Order Number Thirty-Five: Comprehensive

        Election Security Protecting Legal Voters and Accurate Counting (Aug.

        7, 2024), https://perma.cc/CK4L-PQ3K(Executive Order 35)). 1 This



              1 “Doc. _” refers to the docket number of documents filed in the

        district court. If not otherwise specified, “Doc.” citations refer to
        documents filed in the consolidated case, No. 1-24-cv-1778, not the
        United States’ initial action, No. 1-24-cv-1807. “Mot. _” refers to
        defendants’ stay motion filed in this Court. “A-__” refers to pages of the
        Appendix to defendants’ stay motion.



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        Executive Order required that the Commissioner of Elections “certify”

        to the Governor that procedures were in place to provide “Daily Updates

        to the Voter List.” Those “Daily Updates” required “[r]emov[ing]

        individuals who are unable to verify that they are citizens to the

        Department of Motor Vehicles” from the “statewide voter registration

        list” by “compar[ing] the list of individuals who have been identified as

        non-citizens to the list of existing registered voters and then [requiring]

        registrars notify any matches of their pending cancellation unless they

        affirm their citizenship within 14 days.” Executive Order 35, at 3-4.

        The Program identifies voters as possible noncitizens if they choose

        “No” in response to questions about their United States citizenship

        status on certain forms submitted to the DMV. User error and

        confusing form design likely causes many U.S. citizens completing those

        forms to answer questions about U.S. citizenship incorrectly. See Doc.

        9-4, no. 1-24-cv-01807 (Exhibit 3).

              The Virginia DMV sends the Virginia Department of Elections

        (ELECT) a list of purported noncitizens generated by the above process.

        ELECT then attempts to match individuals on the list provided by the

        DMV to individuals on the voting rolls. See Doc. 9-5, no. 1-24-cv-01807


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        (Ex. 4); Doc. 9-6, no. 1-24-cv-01807 (Ex 5.) (Letter from Glenn Youngkin,

        Governor, Commonwealth of Va., to Gerald E. Connolly, Rep., U.S.

        House of Reps. (Oct. 10, 2024) (“ELECT matches [DMV information] to

        the list of existing registered voters, and any matches are provided to

        the appropriate general registrar.”).

              Upon receipt of a list from ELECT, the local registrar is required

        to review each entry on the list and confirm that it matches a voter on

        their jurisdiction’s voter rolls. The local registrar sends a Notice of

        Intent to Cancel to each voter identified by the Program who appears on

        their jurisdiction’s voter rolls. As the district court found, “[n]either

        ELECT nor the local registrars performed additional research or review

        to confirm whether the flagged voter was a citizen or not.” 10/25/24 Tr.

        16 (A-465). Indeed, the Program did not allow for such individualized

        inquiry.

              If the voter fails to respond within 14 days, the voter is

        automatically removed from the rolls and receives a Voter Registration

        Cancellation Notice. See Doc. 9-9, no. 1-24-cv-01807 (Exhibit 8)

        (Cancellation Notice). The Notice states that the voter has been

        “Declared Non-citizen” based on their failure to respond to the Notice of


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        Intent to Cancel. The Cancellation Notice does not include information

        on re-registering to vote, nor does it provide information on Virginia’s

        Election Day voter-registration process. The only action the Notice

        suggests a voter take if they “believe the removal of [their registration]

        from the Voter Registration List is incorrect” is to contact “this office.”

        Cancellation Notice.

              C.   Procedural History

              On October 8, 2024, the United States notified Virginia officials of

        concerns that the Program may violate the Quiet Period Provision. Doc.

        9-17, no. 1-24-cv-01807 (Ex. 16). The United States and Virginia

        officials conferred on October 10, and the United States filed suit the

        next day. Doc. 1, no. 1:24-cv-01807. The United States filed its motion

        for a preliminary injunction on October 16. Doc. 9, no. 1:24-cv-01807.

        After consolidating the United States’ action with a similar action filed

        by private plaintiffs, and following a hearing on October 24, the district

        court issued a preliminary injunction on October 25. Doc. 112.

              The district court found by clear and convincing evidence that

        plaintiffs are substantially likely to succeed on the merits of their claim.

        The court found that the Quiet Period Provision applies to Virginia’s


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        program and bars its operation within 90 days of a federal election.

        10/25/24 Tr. 12, 14-15, 17-18 (A-461, A-463-464, A-466-467). The court

        stressed that the “Commonwealth and the Board of Elections have the

        authority to investigate and remove noncitizens from the registration

        rolls,” including during the 90 days prior to the election. 10/25/24 Tr. 18

        (A-467). But any investigations and removals during this period “must

        be done on an individualized basis.” 10/25/24 Tr. 18 (A-467).

              The district court noted that “defendants . . . conceded that

        between August 7, 2024,” when the Executive Order 35 was issued, and

        October 21, 2024, “over 1,600 individuals [were] removed from the voter

        rolls” as a result of the Program. 10/25/24 Tr. 8-9 (A-457-458). The

        court further found that the United States and private plaintiffs had

        presented “evidence demonstrating that eligible citizens, ... natural

        born and naturalized, have had their registrations canceled” as a result

        of the Program. 10/25/24 Tr. 22 (A-471).

              While defendants asserted that the list of removed voters

        consisted of noncitizens, the district court found that “[t]he evidence

        does not show that.” 10/25/24 Tr. 22-23 (A-471-472). Instead, “[w]hat

        the evidence shows is that these are the individuals who failed to return


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        a form and attest that they were citizens.” 10/25/24 Tr. 23 (A-472).

        And, “at some point[,] they may have said on a form at the DMV that

        they were not citizens,” but the court explained that it was not clear

        whether that was the result of a mistake. Id. The court noted that

        while defendants had produced the list of removed voters only two days

        before private plaintiffs sought a preliminary injunction, plaintiffs in

        that short time had already identified citizens among the voters

        removed. 10/25/24 Tr. 22-23 (A-471-472).

              The district court further found that restoring the right to vote of

        all eligible voters affected by the program “strongly outweighs the

        burden to Defendants of restoring those names to the rolls.” 10/25/24

        Tr. 23 (A-472). In addition, the court found that while “it is

        undoubtedly in the public interest for ineligible voters to be removed

        from voter rolls,” it is also in the public interest to comply with federal

        laws protecting the right to vote. 10/25/24 Tr. 23-24 (A-472-473).

        Again, the court stressed that its order does not prevent the

        Commonwealth from removing registrants “who they determined are

        ineligible through an individualized inquiry” and emphasized that “the




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        Commonwealth can still investigate and remove [non]citizens” on an

        individualized basis at any time. 10/25/24 Tr. 24 (A-473).

              The district court accordingly entered a preliminary injunction

        enjoining defendants “from continuing any systematic program

        intended to remove the names of ineligible voters from registration lists

        less than 90 days before the November 5, 2024, federal General

        Election,” and noting that this prohibition “does not preclude removal of

        names from the official list of voters at the request of the registrant, by

        reason of criminal conviction or mental incapacity (as provided by

        Virginia law), individual correction, or by reason of the death of the

        registrant.” Doc. 112, at 2.

              Within five days, the court ordered defendants to restore the voter

        registration of voters who were cancelled pursuant to the Program and,

        to issue a remedial mailing informing such voters that:

              • their voter registration has been restored to the voter rolls;
              • the registrant may cast a regular ballot on Election Day in the
                same manner as other eligible voters;
              • the prior cancellation of their registration pursuant to the
                Program does not in itself establish that they are ineligible to
                vote; and
              • registrants who are not U.S. citizens remain ineligible to cast a
                ballot.

        Doc. 112, at 3.
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              The order made explicit that “Defendants’ ability to cancel the

        voter registration of noncitizens through individualized review is not

        limited by this Order.” Doc. 112, at 4. The order also clarified that it

        does not “limit Defendants’ authority or ability to investigate

        noncitizens who register to vote or who vote in Virginia’s elections.”

        Doc. 112, at 4. The injunction “expires on the day after the 2024

        General Election.” Doc. 112, at 4.

                                        ARGUMENT

              “A stay is not a matter of right, . . . [i]t is instead an exercise of

        judicial discretion .” Nken v. Holder, 556 U.S. 418, 433 (2009). In

        exercising that discretion, this Court considers four factors: (1) whether

        the movant has made a “strong showing that he is likely to succeed on

        the merits”; (2) whether the movant will be “irreparably injured” absent

        a stay; (3) whether a stay would “substantially injure the other parties

        interested in the proceeding”; and (4) “where the public interest lies.”

        Id. at 434 (citation omitted). Defendants have not come close to

        establishing their heavy burden under these factors. This Court should

        therefore deny the extraordinary relief of a stay pending appeal.




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              Nor is the result changed by defendants’ invocation of Purcell v.

        Gonzalez, 549 U.S. 1 (per curiam). The equitable considerations

        underlying Purcell are the same as those embodied in the Quiet Period

        Provision—both seek to prevent changes to the status quo likely to

        cause voter confusion and disruption too close to an election. See Arcia

        v. Fla. Sec’y of State, 772 F.3d 1335, 1346 (11th Cir. 2014). This Court

        should therefore not apply Purcell to claims under the Quiet Period

        Provision, and Purcell’s application here would in any event counsel in

        favor of denying a stay.

              I.   Virginia Violated The NVRA’s Quiet Period Provision

              Defendants cannot demonstrate a likelihood of success on appeal

        because the district court correctly concluded that (1) the Quiet Period

        Provision applies to programs seeking to remove noncitizens; and (2)

        defendants’ challenged program is “systematic” in nature. Accord

        United States v. State of Alabama, No. 2:24-cv-01329 (N.D. Ala. Oct. 16,

        2024) (enjoining similar program operated by Alabama).

                   A.    The Quiet Period Provision Applies To Programs
                         That Seek To Remove Noncitizens.

              The Quiet Period Provision is squarely applicable to Defendants’

        Program, as the district court found. During the Quiet Period, States

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        may not conduct “any program the purpose of which is to systematically

        remove the names of ineligible voters from the official lists of eligible

        voters.” 52 U.S.C. 20507(c)(2)(A) (emphasis added). The phrase “any

        program” carries an “expansive meaning.” Arcia, 772 F.3d at 1344

        (quoting United States v. Gonzales, 520 U.S. 1, 5 (1997)); see also Ali v.

        Fed. Bureau of Prisons, 552 U.S. 214, 219 (2008) (same).

              The NVRA sets out only three categories of removals not subject

        to the Quiet Period Provision—those made (1) at the request of the

        registrant, (2) because of a criminal conviction or mental incapacity, or

        (3) because the registrant has died. See 52 U.S.C. § 20507(c)(2)(B)

        (cross-referencing 52 U.S.C. 20507(a)(3)(A)-(B) and (4)(A)). “Noticeably

        absent from the list of exceptions” to the Quiet Period Provision “is any

        exception for removal of non-citizens.” Arcia, 772 F.3d at 1345; Mi

        Familia Vota v. Fontes, 691 F. Supp. 3d 1077, 1092-93 (D. Ariz. 2023)

        (same), appeal on other grounds pending, No. 24-3188 (9th Cir.);

        Alabama PI (same). Because citizenship is not one of those grounds,

        defendants’ attempt to read a further exception into the statute fails, as

        the Eleventh Circuit has held, Arcia, 772 F.3d at 1345. See Polselli v.

        Internal Revenue Serv., 598 U.S. 432, 439 (2023) (“We assume that


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        Congress ‘acts intentionally and purposely’ when it ‘includes particular

        language in one section of a statute but omits it in another section of

        the same Act.’” (citation omitted)).

              Defendants assert that if a different part of Section 8—Section

        8(a)(3) and (4), 52 U.S.C. 20507(a)(3)-(4)—is understood to include

        noncitizens within the definition of “registrants,” then the NVRA “bars

        States from removing noncitizens from its rolls at any time.” Mot. 20.

        But that is not so. As the Eleventh Circuit has correctly held, nothing

        in the NVRA bars a state from investigating “potential non-citizens and

        removing them on the basis of individualized information, even within

        the 90-day window.” Arcia, 772 F.3d at 1348.

              Defendants’ statutory-purpose arguments fare no better. Indeed,

        Virigina misses the point in arguing “that statutory-purpose section of

        the NVRA further indicates that noncitizens are not protected by the

        Quiet Period Provision.” Mot. 18. No one argues that the purpose of

        the Quiet Period Provision is to protect non-citizens. It is the stated

        goal of the NVRA—and of the United States in filing this suit—to

        “promote the exercise of” the “right of citizens of the United States to

        vote” and to “ensure that accurate and current voter registration rolls


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        are maintained.” 52 U.S.C. § 20501(a), (b) (emphasis added). But

        Congress enacted the Quiet Period Provision to prevent the mistaken

        disenfranchisement of qualified voters, concluding that the systematic

        removal from the rolls close to Election Day is likely to remove qualified

        voters from the rolls.

              Notwithstanding defendants’ arguments to the contrary, the most

        straightforward reading of the statutory text—as applied by the district

        court—raises no constitutional concerns. As the district court

        recognized, Virginia has multiple methods to enforce its citizenship

        requirements during the Quiet Period, including individualized voter

        removals and scrutinizing whether new registrants are qualified. See

        Doc. 112 at 4. Because Virginia continues to have multiple “means of

        enforcing its constitutional power to determine voting qualifications,”

        no constitutional doubt is raised by giving the Quiet Period Provision its

        “fairest reading.” Arizona v. Inter Tribal Council of Arizona, Inc., 570

        U.S. 1, 19 (2013).

                   B.    The Quiet Period Provision Applies To
                         Defendants’ Program Because It Was Systematic.

              1. The district court also correctly concluded that the challenged

        program is “systematic.” 10/25/24 Tr. 14-17 (A-462-465). In doing so, it

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        agreed with the conclusion reached by the Eleventh Circuit that a very

        similar removal program was “systematic.” Arcia, 772 F.3d at 1344

        (holding “a mass computerized data-matching process to compare the

        voter rolls with other state and federal databases, followed by the

        mailing of notices” and without any “individualized information or

        investigation” to be systematic for purposes of the Quiet Period

        Provision).

              A removal program that proceeds without “any reliable first-hand

        evidence specific to the voters” targeted is “the type of ‘systematic’

        removal prohibited by the NVRA.” N.C. Conf. of the NAACP, 2016 WL

        6581284, at *5; see also, e.g., Bell v. Marinko, 367 F.3d 588, 590 n.2, 592

        (6th Cir. 2004) (setting out examples of individualized “investiga[ions]

        and examin[ations]”); Majority Forward v. Ben Hill Cnty. Bd. of

        Elections, 509 F. Supp. 3d 1348, 1355 (M.D. Ga. 2020).

              In this case, a voter is caught up in the State’s Program when she

        has provided the State with conflicting information about her

        citizenship. Despite a covered individual’s having attested to U.S.

        citizenship when registering, DMV data reflects that the individual

        indicated on certain DMV forms that she is not a U.S. citizen.


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        Crucially, Virginia’s program did nothing to evaluate which of these two

        data points is accurate, thus raising the distinct possibility of mistaken

        voter-registration cancellations during the Quiet Period—the time

        “when the risk of disfranchising eligible voters is greatest.” Arcia, 772

        F.3d at 1346.

              Rather, as the district court correctly found, Virginia’s program is

        based on database matching—which is the very definition of a non-

        individualized process. See 10/25/24 Tr. 16 (A-465) (“It is simply

        checking data fields, matching in mass.”). And once ELECT matched a

        name provided by the DMV to a name on its voter lists, ELECT “would

        send the information to registrar,” who would “simply confirm that the

        person identified is the same individual listed on the voter rolls, and

        then send [a] cancellation notice.” Id. The court found that “[n]either

        ELECT nor the local registrars performed additional research or review

        to confirm whether the flagged voter was a citizen or not.” Id.

              Rather than conduct an individualized inquiry to determine which

        data point is accurate, the Commonwealth unlawfully placed the

        burden on the voter to affirm their citizenship within 14 days or have

        their registration immediately cancelled. But that is precisely what


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        Congress has forbidden States to do during the Quiet Period. Cf. N.C.

        State Conf. of NAACP v. Bipartisan Bd. of Elections & Ethics Enf’t, No.

        1:16-cv-1274, 2018 WL 3748172, at *7 (M.D.N.C. Aug. 7, 2018)

        (explaining that requiring challenged voters to prove their eligibility

        during the Quiet Period “demonstrates precisely why Congress

        prohibited states from conducting systematic programs to remove

        ineligible voters within 90 days of a federal general election”); Mi

        Familia Vota, 691 F. Supp. 3d at 1085-86, 1092-94 (holding state

        statute requiring voter to affirm citizenship when county recorder

        “obtain[ed] information” that the voter was a noncitizen violated the

        Quiet Period Provision).

              Because Virginia’s Program did not depend on “individualized

        information or investigation” to identify ineligible voters, the Program

        is “systematic” and forbidden by the Quiet Period provision. Arcia, 772

        F.3d at 1344.

              2. In its motion for a stay, Virginia also describes a second voter-

        removal process carried out during the Quiet Period. Under that second

        process, the names of certain voters engaged in DMV transactions who

        had noncitizen documents on file were also removed from the voting


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        rolls after running their names through a federal database called the

        SAVE database. Mot. 5-6. These removals, however, occurred only

        once, not on a daily basis.

              In the hearing below, defendants barely discussed this process.

        Rather, it described that the approximately 1,600 voter registrations

        cancelled during the Quiet Period as “self-identified noncitizens,” id. at

        71 (A-391), indicating that they were cancelled through the process

        discussed in Section B(1). See also 10/24/24 Tr. 92 (A-412); id. at 95 (A-

        415) (agreeing that the DMV is “daily sending over these files of

        names”). The Commonwealth never argued or asserted that the

        majority of the removals resulted from a process involving the SAVE

        database, or that it had confirmatory information about the citizenship

        status of the individuals removed. Consistent with that approach, the

        court found that “neither the Court nor the parties, either side, as we sit

        in this courtroom, know that those removed from those rolls were, in

        fact, noncitizens.” See 10/25/24 Tr. 23 (A-472).

              Because Virigina did not make arguments based on these alleged

        facts below, it has waived any reliance on them now. And at any rate,




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        none of these untested allegations change the applicability of the Quiet

        Period Provision.

              II.   The United States And Eligible Citizen Voters Will
                    Suffer Irreparable Harm If The Injunction Is Stayed.

              “The United States suffers injury when its valid laws in a domain

        of federal authority are undermined by impermissible state” action.

        United States v. Alabama, 691 F.3d 1269, 1301 (11th Cir. 2012); see also

        Vt. Agency of Nat. Res. v. United States ex rel. Stevens, 529 U.S. 765,

        771 (2000) (recognizing that the United States may suffer “injury to its

        sovereignty arising from violation of its laws”). Virginia’s violation of

        the Quiet Period Provision constitutes an ongoing and irreparable harm

        to the United States. See New Orleans Pub. Serv., Inc. v. Council of New

        Orleans, 491 U.S. 350, 366-67 (1989).

              Absent immediate injunctive relief to remedy the Quiet Period

        Provision violation, eligible U.S. citizens identified by the Program will

        suffer unreasonable burdens on their right to vote during the November

        5, 2024, federal general election and risk disenfranchisement based on

        understandable confusion, distrust, and deterrence.

              The right to vote is “the essence of a democratic society,” meaning

        that “any restrictions on that right strike at the heart of representative

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        government.” Reynolds v. Sims, 377 U.S. 533, 555 (1964). As such,

        “[c]ourts routinely deem restrictions on fundamental voting rights

        irreparable injury.” League of Women Voters of N.C. v. North Carolina,

        769 F.3d 224, 247 (4th Cir. 2014). In turn, the NVRA protects voters

        from systematic list-maintenance activities that are prone to creating

        voter confusion and deterring participation at a time when errors are

        most likely to harm eligible voters. See Arcia, 772 F.3d at 1346; see also

        Purcell, 549 U.S. at 4-5.

              The Quiet Period Provision recognizes that many “[e]igible voters

        removed days or weeks before Election Day will likely not be able to

        correct the State’s errors” before an election and may not attempt to

        vote at all. Arcia, 772 F.3d at 1346. Indeed, if a stay is granted, U.S.

        citizen voters whose registrations were cancelled by the Program will

        lack access to voting methods available to other citizens. In Virginia,

        voter registration closes 21 days before the November 5, 2024. Va. Code

        § 24.2-416(A).

              Compounding the problem, voters on the permanent absentee-

        voter list simply will not receive a ballot without further notice, as

        cancellation of a voter’s registration will also result in the voter’s


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        removal from the that list. Va. Code § 24.2-703.1(D)(ii). 2 And though

        Virginia allows eligible persons to provisionally register in the 20 days

        preceding Election Day and on Election Day, those registration requests

        must be made in person at early voting sites (prior to Election Day) or

        at the person’s polling place (on Election Day). See Va. Code § 24.2-

        652(B).

              In practical terms, this means that if a stay is granted, many

        voters are at a significant risk of disenfranchisement. For example, a

        voter swept up by the Program who relies on absentee voting because

        they have difficulty traveling to their polling place will have no

        meaningful opportunity to vote.

              And, even if a voter whose registration has been canceled does re-

        register in the twenty days preceding the Election or on Election Day,

        that voter is barred from casting a regular ballot. They will instead be

        allowed only to cast a provisional ballot. Va. Code § 24.2-653(A).

              As the district court recognized, these denials of a voter’s “right to

        participate in elections on an equal basis with other citizens in the



              2 Such voters also will not receive the notices mailed when polling

        places change close to an election. See Va. Code § 24.2-306(B).

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        jurisdiction,” League of Women Voters of N.C., 769 F.3d at 229 (quoting

        Dunn v. Blumstein, 405 U.S. 330, 336 (1972)), constitute irreparable

        harm. See id. at 243, 247-49 (holding, in a challenge under Section 2 of

        the Voting Rights Act, 52 U.S.C. § 10301, that denial of “voting

        mechanisms . . . that do not absolutely preclude participation” was

        nevertheless irreparable harm).

              In addition to the removal itself, Virginia’s communications with

        qualified U.S. citizen voters swept up by the Program are also likely to

        cause irreparable harm by “discourag[ing] future participation by

        voters.” United States v. Berks Cnty., 250 F. Supp. 2d 525, 540 (E.D. Pa.

        2003). When a Voter Registration Cancellation Notice is sent to voters

        who do not respond to the State’s initial notice, the cancellation notice

        suggests only that a voter who “believe[s] the removal of [their

        registration] from the Voter Registration List is incorrect” should

        contact “this office.” The cancellation notice contains no information on

        whether the recipient is eligible to re-register, how the recipient might

        re-register, or how the recipient might register on Election Day. The

        lack of information in the notice, combined with cancellation of the

        voter’s registration, is likely to result in irreparable harm by


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        “discourag[ing]” that voter’s “equal participation in the democratic

        system.” See Berks Cnty., 250 F.Supp.2d at 541. The district court’s

        injunction mandates direct communication via letter with impacted

        voters that is essential to mitigating these harms.

              III. The Balance Of Equities And The Public Interest
                   Support Denying The Stay.

              “The equities weigh in favor of enjoining [state actions] that are

        preempted by federal law.” Alabama, 691 F.3d at 1301. Once state

        election procedures have been found to be unlawful, “it would be the

        unusual case in which a court would be justified in not taking

        appropriate action” before the next election. Reynolds, 377 U.S. at 585.

        In this case, the balance of equities favors ensuring the tailored

        remedial measures ordered by the district court are available to protect

        the rights of impacted eligible voters.

              The Quiet Period Provision “is designed to carefully balance the[]

        four competing purposes [of] the NVRA,” Arcia, 772 F.3d at 1346; see

        also N.C. State Conf. of the NAACP, 2016 WL 6581284, at *5 (same); 52

        U.S.C. § 20501(b) (establishing purposes), and so the equities favor

        injunctive relief when the balance established by Congress is upset

        through noncompliance. See also Arcia, 772 F.3d at 1346 (“At most

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        times during the election cycle, the benefits of systematic programs

        outweigh the costs because eligible voters who are incorrectly removed

        have enough time to rectify any errors. In the final days before an

        election, however, the calculus changes.”); Mi Familia Vota, 691 F.

        Supp. 3d at 1093 (same).

              Although the “State indisputably has a compelling interest in

        preserving the integrity of its election process,” Eu v. S.F. Cnty.

        Democratic Cent. Comm., 489 U.S. 214, 231 (1989), that interest alone

        does not justify violating the NVRA and removing voters from the rolls

        in the weeks before Election Day when eligible voters “will likely not be

        able to correct” errors, Arcia, 772 F.3d at 1346. “This is why the [Quiet

        Period] Provision strikes a careful balance: it permits systematic

        removal programs at any time except for the 90 days before an election

        because that is when the risk of disfranchising eligible voters is the

        greatest.” Arcia, 772 F.3d at 1346.

              The injunction issued by the district court respects this balance.

        Virginia can enforce its citizenship requirements through citizenship

        questions on registration forms and timely systematic list maintenance.

        Virginia can also continue—even during the 90-day period preceding an


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        election—to “cancel the voter registration of noncitizens through

        individualized review.” Doc. 112, at 4. And the injunction does not

        limit “Defendants’ authority or ability to investigate noncitizens who

        register to vote or who vote in Virginia’s elections.” Doc. 112, at 4. In

        the rare instance where noncitizens nonetheless vote, they are subject

        to prosecution. See Va. Code § 24.2-1004(B)(iii).

              Given that the injunction does not disturb the careful balance

        that Congress itself struck, the public interest favors injunctive relief as

        well, principally because “the public undoubtedly has an interest in

        seeing its governmental institutions follow the law.” Roe v. Dep’t of Def.,

        947 F.3d 207, 230-32 (4th Cir. 2020) (quotation marks omitted); see also

        Alabama, 691 F.3d at 1301 (“Frustration of federal statutes and

        prerogatives are not in the public interest.”).

              Contrary to Virginia’s arguments, those factors are unchanged by

        the timing of this suit. Mot. 25- 26. To start, the district court

        specifically rejected Defendants contention that the United States and

        private plaintiffs unreasonably delayed in bringing this case. See

        10/25/24 Tr. 21 (A-470). The Governor’s Executive Order was issued in

        August 2024. Once the United States learned of the order, it began an


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        appropriately diligent investigation into whether voters were in fact

        being removed. It became clear that they were in mid-September (see,

        e.g., Docs. 9-14, 9-15, No. 1-24-cv-1807) , and the United States then

        promptly completed its investigation, contacted the Commonwealth,

        conferred with its counsel, and filed suit on October 11. For their part,

        private plaintiffs began discussions with the State immediately after

        the issuance of the order, including seeking records “that were not

        provided.” See id. Moreover, the NVRA’s private right of action

        provision contains a notice requirement, requiring an aggrieved person

        to provide written notice to the State of any asserted violation 20 days

        prior to filing suit. See 52 U.S.C. 20510(b). After the private plaintiffs

        sent their notice letter, the United States likewise commenced

        discussions with Defendants to attempt to resolve the case without

        litigation. When that failed, the United States promptly filed a motion

        for preliminary injunction. 10/25/24 Tr. 21 (A-470).

              Finally, defendants’ arguments that relief is inconsistent with

        Purcell also fails. No court has applied Purcell to preclude remedying a

        violation of the Quiet Period Provision. And indeed, the equitable

        considerations articulated in Purcell favor relief for a Quiet Period


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        Provision violation that has unlawfully disturbed the status quo. See

        Democratic Nat’l Comm. v. Wis. State Legislature, 141 S. Ct. 28, 31

        (2020) (Kavanaugh, J., concurring) (“When an election is close at hand,

        the rules of the road should be clear and settled.”). Significantly,

        violations of the Quiet Period Provision immediately prior to an election

        are necessarily the sole fault of the offending jurisdiction.

              As Defendants note, Justice Kavanaugh has proposed a four-factor

        inquiry that should apply when evaluating last-minute injunctions

        impacting election administration outside of the Quiet Period Provision

        context. Under those factors, Purcell might be overcome when “(i) the

        underlying merits are entirely clearcut in favor of the plaintiff; (ii) the

        plaintiff would suffer irreparable harm absent the injunction; (iii) the

        plaintiff has not unduly delayed bringing the complaint to court; and

        (iv) the changes in question are at least feasible before the election

        without significant cost, confusion, or hardship.” Merrill v. Milligan,

        142 S. Ct. 879, 881 (2022) (Kavanaugh, J., concurring) (citations

        omitted). These guideposts are not mandatory, have never been

        treated as such by this Court or the Supreme Court, and are of limited

        relevance to a Quiet Period Provision claim, which by its nature will


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        occur close to the election. Indeed, Justice Kavanaugh himself

        recognized that “[h]ow close to an election is too close may depend in

        part on the nature of the election law at issue.” Id. at 881 n.1. Because

        the Quiet Period Provision aims to maintain the status quo, and

        because by definition it can only be violated in the period immediately

        before the election, its enforcement is consistent with Purcell.

              Applying Purcell to foreclose enforcement of the Quiet Period

        Provision would also contradict equitable principles. Purcell is “best

        understood as a sensible refinement of ordinary stay principles for the

        election context,” Merrill, 142 S. Ct. at 881 (Kavanaugh, J.,

        concurring)—that is, a guide to the exercise of courts’ equitable

        discretion in deciding whether to grant injunctive relief. But it is well

        settled that “[i]n considering the propriety” of such relief, the federal

        courts’ equitable discretion does not permit them to “ignore the

        judgment of Congress, deliberately expressed in legislation.” Virginian

        R. Co. v. Railway Employees, 300 U.S. 515, 551 (1937); see, e.g., United

        States v. Oakland Cannabis Buyers’ Co-op., 532 U.S. 483, 497-98 (2001).

        Here, Congress barred States from engaging in systematic list-

        maintenance efforts in the period just before an election and specifically


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        contemplated the possibility of suits seeking injunctive relief to enforce

        the provisions of the NVRA “within 30 days before the date of an

        election,” 52 U.S.C. 20510(b)(3). To withhold relief for a violation of the

        Quiet Period Provision merely based on the imminence of the election

        would be to contradict that congressional judgment.

              While these Purcell guideposts are not properly applicable to a

        Quiet Period Provision claim, they nonetheless weigh in the plaintiffs

        favor. Again, there is no legal basis for finding that the Quiet Period

        Provision does not apply here; if unremedied, the Defendants’ conduct

        will cause eligible U.S. citizen voters and the United States irreparable

        harm; plaintiffs acted promptly within the Quiet Period to discern the

        nature of the violation and remedy it; and the district court’s narrow

        injunction as to the impacted voters is a feasible and needed to ensure a

        remedy.




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                                   CONCLUSION

              The Court should deny a stay.

                                                  Respectfully submitted,

                                                  KRISTEN CLARKE
                                                   Assistant Attorney General

                                                  s/ Anna M. Baldwin
                                                  SYDNEY A.R. FOSTER
                                                  ANNA M. BALDWIN
                                                   Attorneys
                                                   Department of Justice
                                                   Civil Rights Division
                                                   Appellate Section
                                                   Ben Franklin Station
                                                   P.O. Box 14403
                                                   Washington, D.C. 20044-4403
                                                   (202) 305-4278




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                          CERTIFICATE OF COMPLIANCE

              This response contains 6195 words, excluding the parts of the

        brief exempted by Federal Rule of Appellate Procedure 32(f). This

        response also complies with the typeface and type-style requirements of

        Federal Rules of Appellate Procedure 27(d)(1)(E) and 32(a)(5) and (6)

        because it was prepared in Century Schoolbook 14-point font using

        Microsoft Word for Microsoft 365.

                                                 s/ Anna M. Baldwin
                                                 ANNA M. BALDWIN
                                                  Attorney

        Date: October 26, 2024
